991 F.2d 805
    NOTICE:  Although citation of unpublished opinions remains unfavored, unpublished opinions may now be cited if the opinion has persuasive value on a material issue, and a copy is attached to the citing document or, if cited in oral argument, copies are furnished to the Court and all parties.  See General Order of November 29, 1993, suspending 10th Cir. Rule 36.3 until December 31, 1995, or further order.
    Kathryn MUMFORD, Plaintiff-Appellant,v.Natalie MEYER, Secretary of State Natalie Meyers (sic);Election Commission of the City and County of Denver, namedas Election Commission;  Arlys H. Ward, Executive Director;Arie P. Taylor, President;  Sharon Macdonald, Commissioner;Sandy Adams, Commissioner, Defendants-Appellees.
    No. 92-1324.
    United States Court of Appeals, Tenth Circuit.
    April 15, 1993.
    
      Before SEYMOUR, ANDERSON and EBEL, Circuit Judges.
      ORDER AND JUDGMENT*
      STEPHEN H. ANDERSON, Circuit Judge.
    
    
      1
      After examining the briefs and appellate record, this panel has determined unanimously that oral argument would not materially assist the determination of this appeal.   See Fed.R.App.P. 34(a);  10th Cir.R. 34.1.9.   The cause is therefore ordered submitted without oral argument.
    
    
      2
      Kathryn Mumford appeals the dismissal, pursuant to 28 U.S.C. § 1915(d), of her complaint against the Colorado Secretary of State, the Election Commission of the City and County of Denver, and other election officials.   We review the district court's dismissal under the abuse of discretion standard.   See Denton v. Hernandez, 112 S.Ct. 1728, 1734 (1992).
    
    
      3
      Upon a careful review of the file in this case we conclude that the district court did not err in dismissing Ms. Mumford's complaint.
    
    
      4
      The judgment of the district court is AFFIRMED.   The mandate shall issue forthwith.
    
    
      
        *
         This order and judgment has no precedential value and shall not be cited, or used by any court within the Tenth Circuit, except for purposes of establishing the doctrines of the law of the case, res judicata, or collateral estoppel.   10th Cir.R. 36.3
      
    
    